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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

 UNITED STATES OF AMERICA

 v.

 EDWARD CONSTANTINESCU,
 PERRY “PJ” MATLOCK,
 JOHN RYBARCZYK,                                      Case No. 22-CR-00612
 GARY DEEL,
 STEFAN HRVATIN,
 TOM COOPERMAN
 MITCHELL HENNESSEY,
 DANIEL KNIGHT

 Defendants.




                                      [Proposed] O R D E R

        Under 18 U.S.C. § 3771, the United States of America seeks an order authorizing it to

provide notice to the large number of crime victims in this case via a publicly accessible

Department of Justice (“DOJ”) website. Under Section 3771(a)(2), crime victims have a right to

“reasonable, accurate, and timely notice” of public court proceedings. In this case, the potential

victims of the charged securities fraud scheme are numerous market participants that traded the

various securities with which the Defendants executed their alleged scheme throughout the

relevant period in the Indictment. These numerous individuals have not yet been fully identified

and located. Thus, it will be impracticable for the United States to identify and locate all investors

and provide them with reasonable, accurate, and timely notice by mail of this case and any future

proceedings.




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         Under such circumstances, Section 3771(d)(2) of the Crime Victims’ Rights Act gives the

Court the authority to “fashion a reasonable procedure to give effect to this chapter that does not

unduly complicate or prolong the proceedings.” The United States seeks authorization to provide

notice    to   the   potential   victim    investors   through     a   public    DOJ     website    at

https://www.justice.gov/criminal-vns/case/united-states-v-constantinescu-et-al,        which   would

provide a summary of the case, information regarding the case’s status, and other significant case-

related documents. The website also would contain an e-mail address and telephone number for a

Victim Assistance Line through which individual potential crime victims could contact the

Department of Justice with questions regarding the case.

         The Court finds: (1) that the “multiple victim” provisions of 18 U.S.C. § 3771(d)(2) apply

to the above-captioned case; (2) that it is impracticable for the United States to identify and notify

all of the direct and proximate victims of the charged offense on an individual basis at this time

without unduly complicating or delaying the proceedings in this case; and (3) notice by public

DOJ website is a “reasonable procedure” to give effect to the provisions of 18 U.S.C. § 3771.

Accordingly, it is ordered that the United States is authorized to comply with 18 U.S.C.

§ 3771(a)(2) by providing notice to potential victims through a publicly accessible DOJ website,

https://www.justice.gov/criminal-vns/case/united-states-v-constantinescu-et-al.



         Signed at Houston, Texas this the _____ day of _________________________, 2023.



                                       ____________________________________________
                                       THE HONORABLE ANDREW HANEN
                                       UNITED STATES DISTRICT JUDGE




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